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                         EXHIBIT J
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                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

___________________________________
                                    )
AMERICAN FOREIGN SERVICE            )
ASSOCIATION, et al.,                )
                                    )
                  Plaintiffs,       )         Civil Action No. 1:25-CV-352
                                    )
            v.                      )
                                    )
DONALD TRUMP, et al.,               )
                                    )
                  Defendants.       )
___________________________________ )



                       DECLARATION OF JANICE DOE

      I, Janice Doe, declare the following under penalties of perjury:

      1.     I am over 18 years of age and competent to give this declaration. This

declaration is based on my personal knowledge, information, and belief.

      2.     I am currently stationed at at a USAID Mission in Asia as a personal

services contractor (PSC) with USAID. PSCs do the same sorts of work as direct-hire

employees of USAID but we have contracts that govern our employment, which

provide that we must be given 15 days notice before the contract is terminated.

      3.     I have worked for USAID as a PSC since 2020 . Before being posted to

Asia, I served in a technical advisory role for USAID. In these roles, I supported

USAID programs to advance overall U.S. national security and foreign policy

objectives by preventing and ending conflicts, countering radicalization and

extremism, and protecting civilian victims of war.
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      4.     I am joined at my Asia posting by my husband and our two young

children, one in kindergarten and one who is in preschool. My husband’s income is

also tied to USAID because he works as an institutional support contractor (ISC) in

support of another USAID mission. In his role, he supports USAID programs to

address immediate needs of people living in a conflict zone and promote longer-term

solutions to the conflict through development projects.

      5.     My entire family receives health insurance through my contract.

Termination of my PSC contract will mean the immediate loss of medical coverage

for myself and all family members. The proposed rapid repatriation of myself and

family to the United States under the order to recall all USAID overseas personnel

leaves insufficient time to obtain replacement healthcare. I am particularly

concerned about the abrupt loss of health insurance because I receive ongoing medical

monitoring for a previous cancer diagnosis. The compulsory return to the U.S. will

result in me losing access to my medical care at my current posting and significantly

delay my required monitoring to ensure my cancer remains in remission.

      6.     I have a young child enrolled in school at my current post in Asia.

Terminating my PSC contract and/or ordered return to the U.S. under the February

4 notice issued by USAID risks significant loss of time for my child in the classroom.

We have not been told where the U.S. Government plans to send us under the

repatriation order, rendering preparations to enroll my child in an American school

impossible. Extracting a young child from school mid-year and absent any plan or

pledged support for re-enrollment in another school guarantees the child will be



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harmed from missed time in the classroom and difficulties adjusting to a new learning

environment and curriculum, not to mention the emotional trauma such actions take

on young children and their parents. If we are located in a city where we are unable

to demonstrate residency for school registration purposes, we will be compelled to

enroll our child in a costly private school during a period where both parents are

unemployed. This could prompt a quick accrual of large financial debts. We would

also need to pay for daycare for our young, toddler (age 36 months) at a U.S. preschool

that is assuredly far more expensive than her current preschool in Asia.

      7.     Thus far, neither USAID nor the Department of State has provided a

written commitment to underwrite the costs of repatriating me as a PSC and my

family and our property from our current diplomatic posting in Asia. A message

posted to the USAID website on February 6 indicates the opposite, that individuals

or families choosing to stay at their posting beyond the 30 days prescribed in the

February recall order do so at their own personal financial risk and “Beyond 30 days,

however, Agency funded and arranged return travel may not be available.” I have

children in school, two dogs at my overseas Embassy-provided residence, and

personal property to pack or sell, including a vehicle purchased through diplomatic

marketplaces at my post. The proposed timeline is too short for an orderly

repatriation. The latest information issued on February 6 by USAID threatens to

withhold all support for my return should I stay beyond the extremely short 30-day

timeline. If we are forced to leave Asia and return to the United States without

government support, we will have to pay for our travel expenses out of pocket at a



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time when neither my husband nor I will have any source of income. Terminated from

our jobs, my husband and I will not be able to cover the monthly mortgage on our

house. Our house is located in the northeast United States. Our job prospects remain

most strong in Washington D.C. We would likely have to relocate to Washington D.C.

to search for employment, meaning needing to pay a house mortgage and rent on no

incomes. Such financial burdens would require assuming extraordinary amounts of

debt. We would be mortgaging our future financial health in a desperate dash to find

work. Moreover, we will not be able to take our two dogs with us due to standing

import guidelines issued by the Center for Disease Control and Prevention (CDC)

that require waiting times longer than 30 days to qualify for bringing dogs from

overseas. This means we will need to pay a lot of money to keep our dogs in a kennel

for weeks in Asia while we await the permits. We will need to pay for international

animal transport at an outrageous cost once the required import permits are

obtained. This is not a cost that can be shouldered by a family with both parents

unemployed. One dog requires ongoing care for cancer. The loss of both PSC and ISC

salaries makes this care impossible to finance. The removal of treatment due to the

prohibitive cost consigns the dog to a slow, painful death at a kennel in Asia or the

difficult choice to put the dog down before we are repatriated.

      8.     I’m also distressed by how chaotic this process has been so far and how

chaotic I expect it to be if it is not stopped. There is no one at USAID headquarters in

Washington D.C. from my Bureau to help me and my family return to the U.S. As of

February 6, most of my colleagues in Washington have lost email and systems access



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to the platforms needed to bring me home safely and in an orderly manner. We

understand that almost all USAID systems will be closed on February 7 when the

remainder of my colleagues are placed on administrative leave. Reports indicate the

Department of State may assume responsibility for our return. Without previous

experience and familiarity with USAID systems, even well-intentioned Department

of State personnel will be unable to execute, or quickly overwhelmed by, the massive

logistical and financial challenges posed by returning thousands of Americans from

overseas. This is likely to result in a chaotic and disorderly process. For example,

evacuations of U.S. diplomatic posts abroad usually involve a much smaller pool of

evacuees and do not include immediate pack out of personal property. This one is

being handled in such a rushed manner without key personnel in place to manage it

that I have no doubt that connecting flights, hotel reservations, and other logistical

details will fall through the cracks, causing stress to foreign aid workers and their

families, including mine. Unintentional errors, oversights, and administrative

glitches could leave my family and other travelers stranded enroute without access

to our USAID systems to request help or our colleagues in place in Washington to

provide it. Property may be damaged, lost, or misrouted in transit due to

unprecedented high volumes that overwhelm systems and lack personnel to oversee

them.

        9.   I’m also bothered by the personal medical information we’ve been forced

to reveal in public settings in the course of asking to have our forced return home

delayed, and I don’t trust that our private medical information will be kept secure.



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We were required to put sensitive data on medical conditions and health treatments

in unprotected cloud-computing based files. I don’t know who has access to the

information being compiled about us or how it will be used.

      10.    Dissolving USAID will harm me and my family in many ways, but the

harms are far broader. We sponsor a nanny to live with us in embassy housing. She

will lose her ability to stay in the country where we are posted. Without job prospects

or onward opportunities, she will be stranded and financially destitute. Having that

happen to the person who has cared for your kids for years and needing to explain to

your children why you have to abandon a person who we treat as a member of our

family is heart wrenching. We will also leave behind USAID partners, abandoned

themselves and left to the vagaries of the authoritarian, predatory regimes where

they live, subject to untold violence, and likely accused of collaborating with foreign

enemies for their work with USAID. They will be persecuted and hunted, while we

are loaded onto aircraft and sent home. This is not why I joined USAID and dedicated

my life to helping others in the service of my country. It is the antithesis of the ideals

that we espouse and that we encourage our partners to emulate: democracy, the rule

of law, freedom from wanton violence, and opportunity for future generations. We

move forward with the current course at extreme risk to our country’s standing in the

world and the fate of this and future generations.

      I declare under penalty of perjury that the foregoing is true and correct.

      Executed on February 7, 2025.




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                                    Janice Doe




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